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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

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R. ALEXANDER ACOSTA, Secretary of 1
Labor, United States Department of Labor,
Plaintiff,
DECISION AND ORDER

v.
1:17-CV-00605 EAW

AGAVE ELMWOOD INC. d/b/a AGAVE

MEXICAN RF,STAURANT; DON

TEQUILA DOS, INC. d/b/a EL AGAVE

MEXICAN RESTAURANT; DON

TEQUILA 73, INC. d/b/a DON TEQUILA

MEXICAN RESTAURANT, as successor to

DON TEQUILA, INC.; MIS REINAS

FOODS, INC. d/b/a LA DIVINA

MEXICAN STORE; SERGIO MUCINO,

individually; and JOSE MANUEL

SANCHEZ-OCAMPO. individually,

Defendants.

 

INTR()DUCTION
On June 30, 2017, plaintiff R. Alexander Acosta, Secretary of Labor for the United
States Department of Labor (“Plaintiff”) commenced this action pursuant to the F air Labor
Standard Act of 1938 (“FLSA”), 29 U.S.C. § 201 et seq. (Dkt. 1). Plaintiff seeks back
Wages, liquidated damages, and injunctive relief from defendants Agave Elrnwood Inc.
d/b/a Agave Mexican Restaurant (“Agave Elmwood”); Don Tequila Dos, Inc. d/b/a El
Agave Mexican Restaurant (“El Agave”); Don Tequila 73, Inc. d/b/a Don Tequila Mexican

Restaurant, as successor to Don Tequila, Inc. (“Don Tequila”); Mis Reinas Foods, Inc.

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d/b/a La Divina Mexican Store (“La Divina”); Sergio Mucino, individually (“Mucino”);
and Jose Manuel Sanchez-Ocampo, individually (“Sanchez-()campo”) (collectively
“Defendants”) for allegedly failing to pay employees minimum Wage and overtime
premiums, and for maintaining false and inaccurate time and pay records. (Dkt. 1).

Presently before the Court is Plaintiff s motion to approve the proposed consent
judgment as to Sanchez-Ocampo. (Dkt. 34). F or the reasons set forth beloW, the Court
finds the proposed consent judgment (“proposed Consent Judgment”) to be acceptable

BACKGROUND

The following alleged facts are drawn from the complaint Defendants operate
Mexican restaurants in or around Buffalo, New York. (Dkt. l at 1). From June 30, 2014,
until at least October 18, 2016, Sanchez-Ocampo Was a manager of Agave Elmwood, La
Divina, El Agave, and Don Tequila. (Ia’. at 111 13, 22). He had the authority to hire, fire,
and supervise employees; control their hours Worked; and determine their compensation
(Id. at jj 13). Defendants employed dishwashers, cooks, servers, bussers, bartenders, and
hosts at their restaurants. (Id. at 1[ 22).

They had both part-time and full-time servers, and the full-time servers typically
Worked more than 40 hours per Week. (Ia’. at W 25-26). Defendants usually did not pay
the full-time servers any hourly Wages, forcing those servers to rely only on tips received
from customers. (Ia’. at W 25, 29). Defendants also did not inform the servers that their
tips Would be credited against the minimum Wage. (Ia’. at jj 31). Additionally, the kitchen
employees and bussers generally Worl<ed 60 to 66 hours per Week. (Id. at 111 33-34). These

employees Were generally paid a fixed Weekly sum regardless of how many hours they

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worked, and their pay rate regularly fell below the applicable minimum wage. (Id. at jjjj
35-39). Defendants also did not pay several employees at all for construction work done
at El Agave or for their last week of work. (Id. at jjjj 4 l-43).

The records kept of employees’ daily and weekly hours, employees’ regular hourly
rates and weekly payments, number of employees, and payroll were not adequately or
accurately kept. (Ia’. at jjjj 45-49). Instead, Defendants paid their employees in cash and
check while maintaining inaccurate reeords. (Ia’. at jj 5()).

Plaintiff began investigating Defendants’ compliance with the FLSA in November
2016. (Id. at jj 57). On June 3(), 2017, Plaintiff filed the instant lawsuit (Dkt. l), and
discovery is currently ongoing (Dkt. 36). Plaintiff filed the proposed Consent Judgment
on September 26, 2018. (Dkt. 34).

DISCUSSION
I. Standard for Approving a Consent Judgment

“[T]he proper standard for reviewing a proposed consent judgment involving an
enforcement agency requires that the district court determine whether the proposed consent
decree is fair and reasonable, with the additional requirement that the ‘ public interest would
not be disserved’ . . . in the event that the consent decree includes injunctive relief.” S.E. C.
v. Cz'tigroup Global Markels, Inc., 752 F.3d 285, 294 (2d Cir. 2014) (quoting eBay, Inc. v.
MercExchange, L.L.C., 547 U.S. 388, 391 (2006)).

“[l]n evaluating the proposed [c]onsent [d]ecree, deference is accorded to a
government agency . . . and other parties proposing the settlement. Further, the policy of

encouraging settlements is particularly strong where the settlement is proposed by a

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government agency acting in the public interest.” Um'ted States v. Gen. Elec. Co., 460 F.
Supp. 2d 395, 401-02 (N.D.N.Y. 2006) (citations omitted), a]j”’d Sub nom. T own of Ft.
Ea’wara’ v. Unz'ted States, No. 06-5535-CV, 2008 WL 45416 (2d Cir. Jan. 3, 2008). “It is
well settled that the function of the reviewing court is not to substitute its judgment for that
of the parties to the decree but to assure itself that the terms of the decree are fair and
adequate and are not unlawful, unreasonable, or against public policy.” Unz'z‘ea’ States v.
Hooker Chems. & Plastz`cs Corp., 540 F. Supp. 1067, 1072 (W.D.N.Y. 1982), a]j"’d, 749
F.2d 968 (2d Cir. 1984). “Absent a substantial basis in the record for concluding that the
proposed consent decree does not meet these requirements, the district court is required to
enter the order.” Cz'tz'group, 752 F.3d at 294.
II. The Proposed Consent Judgment Is Fair and Reasonable

When evaluating a proposed consent judgment for fairness and reasonableness, a
court should “assess (l) the basic legality of the decree; (2) whether the terms of the decree,
including its enforcement mechanism, are clear; (3) whether the consent decree reflects a
resolution of the actual claims in the complaint; and (4) whether the consent decree is
tainted by improper collusion or corruption of some kind.” Ia’. at 294-95 (citations
omitted). “The ‘primary focus’ should be on ‘ensuring the consent decree is procedurally
proper."’ S.E.C. v. Caledonl'an Bank Ltd., 317 F.R.D. 358, 369 (S.D.N.Y. 2016) (quoting
Citigroup, 752 F.3d at 294-95). The Court assesses each factor as applied to the proposed

Consent Judgment below.

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A. The Basic Legalitv of the Proposed Consent Judgment

The Court finds there is basic legality in the proposed Consent Judgment. A
proposed consent judgment with the U.S. government is legal as long as the court has
authority to enter the judgment and the plaintiff has authority to enforce it. Calea’onicm
Bank, 317 F.R.D. at 370; see Benjamin v. Jacobson, 172 F.3d 144, 158 (2d Cir. 1999)
(terminating a consent decree entered by a district court because a statutory provision in
the Prison Litigation Reform Act mandated termination of a consent decree providing for
injunctive relief “that was approved or granted in the absence of” certain statutorily
required findings). Plaintiff has alleged violations of the FLSA §§ 7, ll, l5(a)(2), and
l5(a)(5) by Sanchez-Ocampo. as well as asked for injunctive and monetary relief. (Dkt. l
at jjjj 72-79; id. at 12-13). This Court has authority to enter a judgment in this action for
injunctive and monetary relief pursuant to 28 U.S.C. §§ 1331 and 1345 and 29 U.S.C.
§ 217, and Plaintiff has authority to enforce said judgment under 29 U.S.C. §§ 211 and
216(c). See Ruggles v. Wellpoz'm‘, Inc., 253 F.R.D. 61, 68 O\I.D.N.Y. 2008) (“FLSA § 217
provides that the Secretary of Labor may file an action to enjoin an employer from violating
the FLSA, including minimum wage and overtime compensation provisions.”); see, e.g.,
Chao v. Vz'a’tape, Inc., 66 Fed. Appx. 261, 262-63 (2d Cir. 2003) (finding it was proper for
the district court to enjoin defendants and to award costs to the Secretary of Labor as the
plaintiff in the action for violations of the FLSA’s minimum wage, overtime, and record-
keeping provisions). The charges and relief are also accurately Stated in the consent
judgment against Sanchez-Ocampo. (Dkt. 34-1 at 1-5). Therefore, the proposed Consent

Judgment meets the basic legality standard.

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B. The Proposed Consent Judgment Is Clear

The Court also finds that the proposed Consent Judgment is clear. See Kz'ng v. Allz`ea’
Visz`on, Lta’., 65 F.3d 1051, 1058 (2d Cir. 1995) (“A clear and unambiguous order is one
that leaves no uncertainty in the minds of those to whom it is addressed . . . who must be
able to ascertain from the four corners of the order precisely what acts are forbidden.”
(intemal quotations and citations omitted)). Here, the proposed Consent Judgment lays out
who il applies to (SancheZ-Ocampo), what the alleged violations are (FLSA §§ 6, 7, ll(c),
15(a)(2), and l5(a)(5)), where they happened (the names and addresses of restaurant
Defendants in Buffalo), when they happened (June 30, 2014 to October 18, 2016), how
they happened (Sanchez-Ocampo failing to keep accurate pay and time records, paying a
fixed weekly salary, not paying hourly rates or overtime, and not paying wages at all), and
that Sanchez-Ocampo admits to all of the above. (Dkt. 34-1 at 1-3, 7). lt also specifically
states exactly what injunctive relief is proposed, how much Sanchez-Ocampo is ordered to
pay, the form of payment, the time schedule for doing so, where the payments should be
sent, and what Plaintiff will do with them once received. (]a’. at 3-6, 9). The Court
determines that the proposed Consent Judgment will leave no uncertainty in the mind of
SancheZ-Ocampo, and consequently its terms meet the clearness standard.

C. The Proposed Consent Judgment Reilects a Resolution of the Claims

Additionally, the Court finds the proposed Consent Judgment reflects resolution of
the claims in the complaint. Plaintiff claims that Sanchez-Ocampo failed to pay employees
minimum wage, overtime premiums, or at all; and that he maintained false and inaccurate

time and pay records. (Dkt. 1 at jjjj 72-79). The injunctive relief in the proposed Consent
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Judgment demands that SancheZ-Ocampo pay his employees minimum wage and
overtime, keep adequate records of wages and hours, refrain from threatening employees
for whistleblowing, and stop the withholding of the back wages owed to employees. (Dkt.
34-1 at 3-5). Additionally, the proposed Consent Judgment orders SancheZ-Ocampo to
pay liquidated damages to the employeesl (Ia’. at 5). Therefore, the relief provided in the
proposed Consent Judgment reflects resolution of the claims alleged against Sanchez-
Ocampo in the complaint

D. The Proposed Consent Judgment Is Not Tainted

“A district court must examine whether a consent decree is ‘tainted by improper
collusion or corruption of some kind,’ or ‘raises a suspicion that the consent decree was
entered into as a result of improper collusion between the [agency] and the settling party.”’
Caledonl`an Bank, 317 F.R.D. at 373 (quoting Citigroup, 752 F.3d at 295-96). No evidence
of collusion or corruption appears in the record. Therefore, the Court finds the proposed
Consent Judgment is not tainted.

After considering all of the above factors, the Court determines they all weigh in
favor of finding the proposed Consent Judgment to be fair and reasonable
III. The Iniunctive Relief Does Not Disserve the Public Interest

Finally, the Court finds that the injunctive relief in the proposed Consent Judgment

does not disserve the public interest. ln order for a court to grant a permanent injunction

 

l FLSA § 216(b) provides that employers are "liable to the employee or employees
affected in the amount of their unpaid minimum wages, or their unpaid overtime
compensation . . . and in an additional equal amount as liquidated damages.” 29 U.S.C.
§ 216(b).

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in a proposed consent decree, “a district court must also consider the public interest. . . .”
Citz`group, 752 F.3d 294. “The job of determining whether the proposed [agency] consent
decree best serves the public interest, however, rests squarely with the [agency], and its
decision merits significant deference . . .” ld. at 296. Second Circuit courts have held that
a consent judgment should be approved when no participants in the “proceeding have set
forth a legitimate basis for concluding that the consent decree would harm the public or
‘bar[ ] private litigants from pursuing their own claims.”’ Caledonian Bank, 317 F.R.D. at
374 (alteration in original) (citing Citigroup, 752 F.3d at 297); see Um'ted States v. N. Y.C.
Hous. Auth., 326 F.R.D. 411, 417 (S.D.N.Y. 2018) (“[A]ny arguments regarding whether
the Proposed Consent Decree is fair, reasonable, and in the public interest should be
addressed by opposing the pending motion for approval of the Proposed Consent Decree.”).
Here, neither Sanchez-C)campo nor any other Defendants have raised arguments that the
proposed Consent Judgment would harm the public interest. Therefore, the Court defers
to the judgment of the Department of Labor and finds that the proposed Consent Judgment
best serves the public interest
CONCLUSION

Giving due deference to the desires of the parties seeking to enter this proposed
Consent Judgment, this Court finds that the record shows the proposed Consent Judgment
is fair and reasonable and that it comports with the public interest, Therefore, the proposed
Consent Judgment (Dkt. 34-1) is approved, and the approved Consent Judgment, filed as

an attachment hereto, constitutes Final Judgment pursuant to Fed. R. Civ. P. 54(b) and 58.

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80 ORDERED.

  

 

  

ELIZABE H A.woLF
` ~ ates District Judge

Dated: October 29, 2018
Rochester, New York

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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

R. ALEXANDER ACOSTA, Secretary of Labor, United
States Department of Labor,

Plaintiff,

v. :
AGAVE ELMWOOD INC. d/b/a AGAVE MEXICAN No. l7-CV-605-EAW-HBS
RESTAURANT; DON TEQUILA DOS, INC. d/b/a EL
AGAVE MEXICAN RESTAURANT; DON CONSENT JUDGMENT AS TO
TEQUILA, INC. d/b/a DON TEQUILA MEXICAN : JOSE MANUEL SANCHEZ-
RESTAURANT; DON TEQUILA 73, INC. d/b/a DON OCAMPO
TEQUILA MEXICAN RESTAURANT, as successor to
DON TEQUILA, INC.; MIS REINAS FOODS, INC.
d/b/a LA DIVINA MEXICAN STORE; SERGIO
MUCINO, individually; and JOSE MANUEL
SANCHEZ-OCAMPO, individually,

Defendants.

 

Plaintiff, R. Alexander Acosta, the Secretary ofLabor (“Secretary”) has filed his complaint
and defendant Jose Manuel Sanchez-Ocampo (“SancheF.-Ocampo”) has appeared by counsel and
hereby agree to the entry of this Judgment without contest in full settlement of the claims that have
been made or asserted in this action between the Secretary and defendant Sanchez-Ocampo,
individually.

l. The Secretary’s complaint alleges that defendants willfully violated sections 6, 7,
ll(c), and 15(a)(2), and 15(a)(5) of the Fair Labor Standards Act of 1938, as amended (29 U.S.C.
§ 201, e_t s_eq.) (the “Act" or the “FLSA") by failing to pay their employees minimum and overtime
wages and failing to make, keep, and preserve adequate and accurate records.

2. Defendant Sanchez-Ocampo submits to the jurisdiction of this Court over him and

over the subject matter of this action. Sanchez-Ocampo admits that this Court has the authority to

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enter and enforce this Order and that this Court is the most appropriate venue for any enforcement
action that may be required as a result of this Order`

3. Defendant Sanehez-Ocampo admits that he was the general manager of Don
Tequila Mexican Restaurant operated by Don Tequila, lnc. at 73 Allen Street. Buffalo, New York
14202 (“Don Tequila"`)t as well as a manager of Agave Elmwood, Inc. d/b/a Agave Mexican
Restaurant Don Tequila Dos, lnc. d/b/a El Agave Mexican Restaurant and Mis Reinas Foods,
Inc. d/b/a La Divina Mexican Store. SztncheZ-Ocampo admits that he received a share of profits
from Agave Elmwood, lnc., Don Tequila, lnc., Don Tequila Dos, lnc., and Mis Reinas Foods, Inc.

4. Defendant Sanchez-Gcampo admits that he failed to keep accurate pay and time
records for Don Tequila’s employees from June 30, 2014 through October 18. 2016.

5. Defendant Sanchez-Ocampo also admits that from June 30, 2014 through October
18` 2016. Don Tequila`s kitchen employees and bussers were paid a fixed weekly salary without
regard to whether they worked in excess of forty hours in a workweek, and thus, they did not
receive overtime at one and one-half the regular hourly rate for all hours exceeding forty when
they worked over forty hours in a workweek. Specitically. defendant Sanchez~Ocampo admits
that Don Tequila`s bussers and kitchen employee~" including chet`s, cooks, dishwashers. and prep
workers, typically worked in excess of forty hours per week, from approximately sixty to sixty-Six
hours. Bussers received a weekly salary between approximately $200 and 8440: dishwashers
received a weekly Salary of approximately 5450; and cooks received a weekly salary between
approximately 3500 and 5700.

6. Defendant Sanchez-Ocampo further admits that from June 30, 2014 through
October 18, 2016, Don Tequila`s full-time servers Were not paid any wages. thereby violating the

Act’s minimum wage requirements. Defendant Sanchez-Ocampo also admits that Don Tequila’s

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full-time scrvers typically worked six days per week, from approximately 10:00 a.m. to 10:00 p.m.
and sometimes as late as 2100 a.m. on the weekends As Don Tequila did not pay their full-time
servers any wages Don Tequila’s full-time servch also did not receive overtime at one and one-
half the regular hourly rate for all hours exceeding forty when they worked over forty hours in a
workweek,

7. lt is. therefore upon motion of the attorneys for the Secretary and for good cause
shown, ORDERED that defendant Sanche'z-Ocampo, his agents, servants, employees and those
persons in active concert or participation with him be and hereby are, permanently enjoined and
restrained from violating the provisions of sections 6, 7, 1 l(c_), 15(a)(2), and 15(a)(5) of the Act,
and must abide by the i"ollowittg:

A. Defendant Sanchez-Ocampo shall nott contrary to section 6 of the Act,
employ any employees who in any workweek are engaged in commerce or in the
production of goods for commerce or employed in an enterprise engaged in commerce
or in the production ot` goods for commerce, within the meaning of the Act` at wage
rates less than those which are now, or which in the future may become, applicable
under section 6 ofthe Act.

B. Defendant Sanchez-Ocampo shall not. contrary to section 7 of the Act.
employ any employees who in any workweek are engaged in commerce or in the
production of goods t`or commerce, or employed in an enterprise engaged in commerce or
in the production of goods for commerce within the meaning of the Act, for workweeks
longer than the hours nowt or which in the future become, applicable under sections 7 and

litat(.'l) of the Act, unless the employees receive compensation for their employment in

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excess of the prescribed hours at rates not less than one and one-half times the employees
regular rates

C. Defendant Sanche'/.-Ocampo shall make, keep` and preserve adequate
records of employees and ot` the wages, hours. and other conditions and practices of
employment as prescribed by regulations issued pursuant to sections l l(c) and l5(a)(5) of
the Act and found at 29 C.F.R. Part 516.

D. Defendant Sanchez-t`)c;impo shall not discharge, blacklist, demote,
suspend threaten, harass intimidate or in any other manner discriminate against an
employee including soliciting the repayment of compensation paid to an employee
pursuant to this .ludgment. because the employee engages in or is believed to have engaged
in any of the following activities:

(l ) Discloses. protests or threatens to disclose or protest, to a supervisor
or to a public agency. any activity policy or practice of the employer or
another employer, with whom there is a business relationship, that the
employee reasonably believes is in violation nt` the Act or a rule or
regulation promulgated pursuant to the Act;

(2) Provides information to, or testifies before, any public agency or
entity conducting an investigation, hearing or inquiry into any alleged
Violation ot` the Act or a rule or regulation promulgated pursuant to the Act,
by the employer or another employer with whom there is a business

relationship; or

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(_3) ()hjects to, or refuses to participate in any activity, policy or practice
which the employee reasonably believes is in violation of the .-\ct or a rule
Or regulation promulgated pursuant to the Aet.

8. Further, it is ORDERED that defendant SancheZ-Ocampo is enjoined and
restrained from withholding the payment ol`a total of$3 14.413.94 in back wages owed plus post~
judgment interest due to the employees in the amounts listed on Exhibit A.

9. lt is further ORDERED that defendant Sanchez-Ocampo shall pay $3]4.4]3.94 in
liquidated damages due to the employees in the amounts listed in Exhibit A, for a total of
$628.827.88.

10. As part of fulfilling the requirements of paragraphs 8 and 9, defendant Sanchez-
()campo shall pay $2,000.00 within five days oi` the entry of this Judgment. and the remaining
amount of 5626,927.88 within thirty days of the entry of this Judgment

l l . Payment shall bc by made by One of the following methods:

a. F or electronic payment, visit v t__,pa_v__g_; »\ and perform the following:

i. Opcn the “Find an Agency”’ tab and click on “L” and then “Labor
(DOL); Wage and Hour Division (WHD)."

ii. Clicl< on the “Continue to Form" tab under "WHD Back Wage Payment
Form -Northeast Region."

iii. Seleet “Ctmtinue to Form" and complete the required fields:
a. The "“BW Case Number" is Case No. 1807l 82.
b. The "Date ofAssessment" is the date of this Order.
b. For payment by cashier or certified check:

i. Make the check payable to “Wage and Hour Division - Labor" with
‘“Case No. 1807l 82" written on the face of the check;

ii. Mail with a trackable delivery method t0;

United Statcs Department of Labor w Wage & Hour Division

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The (`urtis Center, Suite 850 West

l7() S. lndependence Mall West

Philadelphia, PA lQI 06-33 l 7

Attn: William Sehweizer

iii. Mail a copy ofthe Cashier’s check to;

Michael Fitzgerald\ Assistant District Director
U,S. Department of Labor, Wage and Hour Division
But`falo Area Ofiice
130 S. Elmwood .l\venue, Room 534
Buffalo, NY 14202

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The Secretary shall distribute defendant Sanehez-Ocarnpo’$ payments less any
legal deductions to the employees or to their estates, as set forth in Exhibit A. Any sums not
distributed to the employees or their personal representatives or estates because of inability to
locate the proper persons or because of such pcrsons’ refusal to accept such sums shall be
forwarded to the Wage and flour Division at the above address Any amounts of unpaid
compensation and liquidated damages not distributed within a period of three years from the date
of receipt shall, pursuant to section 16(0) of the Act, be covered into the Treasury of the United
States as miscellaneous receipts Defendant Sanchez~()campo remains responsible for paying the
employer`s share of any applicable taxes to the appropriate state and federal revenue authoritiesl

l3. ORDERED that neither defendant Sanchc'/-Ocampo nor any one on acting on his
behalf shall directly or indirectly solicit or accept the return or refusal of any sums paid under this
Judgment

l4. lfdefendant Sanchez-Ocampo fails to make the payments as set forth in paragraph
9. a live calendar-day grace period shall be allowed for receipt of each payment ln the event that
the U.S. Department ol`Labor does not receive each payment check by the sixth Calendar day after
which it is due. the U'S. Department of Labor`s representatives will notify defendant Sanchez-

Oeampo through his attorney, Paul Dell, by entail at pgdell@aol.com. Defendant Sanehez~

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Ocainpo is responsible for timely notifying the U.S. Department of `Labor of any change in the
identity or contact information of his attorney. If`the U.S. Department of Labor does not receive
payment within three days of notifying defendant’s attorney of an overdue payment, then the total
amount due under this Judgment ('3628,827.88), less any amounts already received by the
Secretary pursuant to this Judgrnent. shall become due immediately No action or non-action by
the Secretary shall constitute a waiver of this paragraph

l$. Ncithcr the commencement of this action nor the provisions of this Judgment shall
in any way affect determine or prejudice any and all legal rights of any employees of defendants
not listed in l"xhibit A of this Judgment, be they current or former employees, to file any action
against defendant under section l6(b) of the Act or likewise for any current or fortner employee
listed on Exhibit A of this Judgment to file any action against the defendants under section l6(b)
ol`thc Act for any violations alleged to have occurred after October 18, 2016.

16. This Judgment resolves claims against defendant Sanchez-Ocampo and does not
resolve the Secretary’s claims against the non-settling defendants Sergio Mueino, Agave
l.lmwood, Inc. d/b/a Agavc Mexican Restaurant, Don Tequila Dos, lne. d/b/'a ill Agavc Mcxican
Restaurant, Don Tequila, Inc. d/b/a Don Tequila Mexican Restaurant, Don Tequila 73, lnc.. and
Mis Reinas l"`oods, l`nc. d/b/a l.a Divina Mexican Store.

l7. Each party will bear its own fees and other expenses incurred by such party in
connection with any stage of this proceeding

SO ORDERED.

[)ATED: ,_ __ . 2018
Buffalo, New York

 

HoNoRABLE ELizABETH `A. WOLFORD
unrriso sTATEs Dis'rRic.r Jut)os

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Defendant has appeared by the undersigned counsel and hereby consents to the entry of this

Judgment.
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\R/"‘|r *:--" f fl

JOSE MA§L:F,__L $.ANCHEz-OCAMPO

/»/

Paul bell. F.Sq.

Law Of`f`lce ofPaul G. Dell
70 Niagara Street

Buffa}o, NY 142{}2
716-3624 156
pgdell@aol.com

 

Cou)zselfo)' Defendant Sanche:-Ocampo

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F.-Xll [BIT A

Back Wages and Liquidated Damages Due

 

 

 

 

 

 

 

 

 

 

 

EMPLOYEE’S NAME l BAC|I<)I`;VEAGES
_Alcja;<-i;V;l:1ez-Leon m d 882,21§.25
I)aniel Calva-Serrano did $79,(;19”7.01)
: jerry ROdriguez-Hem;mdcz_ 821.9(%._7_5 :
f Joel Hernandez- Martinc:z 893,927.69 o l
Jonathan Doe mr w 8447,50
R§§§§§.u§§?§§§§ez $5~250'00
Luis Femando Marroquin-Santizo 8211.345.75
Pablo CaaI-Caal ~ $5 220. 00
~ 'I`OTALS __ 331;41;.*94

 

 

 

DAM_AGES
_DUE

332 219. 25
l 379 097_. 00
321 906 75

 

893, 927. 69
5447 50_

 

 

_ $_5.:220.0_0 _1__.411__ 810 440 00

.1_. _ _._.__

LlQmDATED _

TOTAL

1 3164'438 50
3153194 00
343, 313 50
3137 355 38
3895 00

$lO, 500. 00

 

352 691.

 

$628, 827. 88

 

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